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				IN RE OKLAHOMA ACCESS TO JUSTICE COMMISSION2015 OK 47Decided: 06/22/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 47, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 







ORDER AMENDING RULE 1.401 OF THE RULES OF 
THE OKLAHOMA SUPREME COURT


The following amendment to Rule 1.401, Oklahoma Supreme Court Rules, Okla. Stat. tit. 12, ch. 15, app. 1, which increases the membership of the Oklahoma Access to Justice Commission is hereby adopted and is attached as an exhibit to this Order.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 22nd day of June, 2015.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR




&nbsp;

RULE 1.401 - THE OKLAHOMA ACCESS TO JUSTICE COMMISSION:

A. The Oklahoma Access to Justice Commission is created to develop and implement policy initiatives designed to expand access to and enhance the quality of justice in civil legal matters for low-income Oklahoma residents.

B. The Oklahoma Access to Justice Commission shall:

1. identify and assess current and future needs for access to justice in civil matters by low-income Oklahomans;

2. develop and publish a strategic plan for statewide delivery of civil legal services to low-income Oklahomans;

3. foster the development of a statewide integrated civil legal-services delivery system;

4. work to increase resources and funding for access to justice in civil matters and to ensure that the resources and funding are applied to the areas of greatest need;

5. work to maximize the wise and efficient use of available resources, including the development of local, regional, and statewide coordination systems and systems that encourage the coordination or sharing of resources or funding;

6. develop and implement initiatives designed to expand civil access to justice;

7. work to reduce barriers to the justice system by addressing existing court rules, procedures, and policies that negatively affect access to justice for low-income Oklahomans; and,

8. monitor the effectiveness of the statewide system and services provided and periodically evaluate its progress in fulfilling the civil legal needs of low-income Oklahomans.

C. The Oklahoma Access to Justice Commission shall consist of seven (7) voting members. Each member shall serve until his or her successor is appointed. The term of each voting member of the Commission shall be for a period of three (3) years, commencing on July 1 of each year, except the initial term shall commence on July 1, 2014. The period between the effective date of the order of this Court through July 1, 2014, shall be added to the initial term of each appointed committee member. The initial terms shall be staggered as follows: the initial term for positions one (1) and two (2) shall be for a period of three (3) years; the initial term for positions three (3) and four (4) shall be for two (2) years; and the initial term for positions five (5) and six (6) shall be for a period of one (1) year.

Effective July 1, 2015, the Oklahoma Access to Justice Commission shall consist of eleven (11) voting members. These four (4) additional voting members shall have initial terms beginning on the date of their appointment and ending on June 30, 2016. Thereafter, such members shall serve for a period of three (3) years as other members of the Commission. These additional members shall be appointed by the Supreme Court and be at-large members who have demonstrated a commitment to access-to-justice issues in Oklahoma.

D. The Supreme Court shall appoint the following voting members to the Oklahoma Access to Justice Commission:

1. a justice of the Supreme Court of Oklahoma;

2. a judge from a county with a population of 500,000 or more;

3. a judge from a county with a population of less than 500,000;

4. one (1) member of the Oklahoma Bar Association;

5. one (1) representative of a state or federally funded legal-services program; and

6. two (2) at-large members who have demonstrated a commitment to and familiarity with access-to-justice issues in Oklahoma. Pursuant to subsection C of this Section, four (4) additional at-large members who have demonstrated a commitment to access-to-justice issues in Oklahoma shall be appointed to the Commission by the Supreme Court.

The Attorney General or his or her designee shall act as a non-voting ex-officio member of the Commission. The Governor, Speaker of the House of Representatives, and the President Pro Tempore of the Senate are each invited to designate a non-voting member of the Commission.

E. The members of the Oklahoma Access to Justice Commission shall elect a chair and vice-chair of the Commission.

F. The Administrative Office of the Courts shall provide staff and supervise the budget for the Oklahoma Access to Justice Commission. Proposed budgets of the Oklahoma Access to Justice Commission will be subject to approval by the Supreme Court.

G. The Oklahoma Access to Justice Commission may adopt rules as necessary for the performance of the Commission's duties subject to the approval of the Supreme Court.

H. The Oklahoma Access to Justice Commission will file, at least annually, a status report on the progress of the Commission's duties. The Commission will send a copy of the report to the Supreme Court, Governor, Speaker of the House of Representatives, President Pro Tempore of the Senate, and Attorney General. The initial progress report will be filed not later than June, 30, 2015.

I. The Oklahoma Access to Justice Commission's voting members, non-voting members and Attorney General or his or her designee shall not be entitled to compensation for their services. However, members appointed by the Supreme Court may be reimbursed for all expenses incurred in the performance of their duties pursuant to the State Travel Reimbursement Act out of funds available to the Commission. The Attorney General or his or her designee and each non-voting member appointed by the Governor, Speaker of the House of Representatives, and President Pro Tempore of the Senate may be reimbursed by their appointing authority for all expenses incurred in the performance of their duties pursuant to the State Travel Reimbursement Act.


&nbsp;





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	Title 12. Civil Procedure
&nbsp;CiteNameLevel

&nbsp;12 O.S. RULE 1.401, THE OKLAHOMA ACCESS TO JUSTICE COMMISSIONCited


	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
